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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 SECURITIES AND EXCHANGE COMMISSION,                         §
                                                             §
        Plaintiff,                                           §
                                                             §
 V.                                                          §     Case No. 6:23-cv-00321
                                                             §
 ROY W. HILL, ERIC N. SHELLY,                                §
 CLEAN ENERGY TECHNOLOGY                                     §
 ASSOCIATION, INC., and                                      §
 FREEDOM IMPACT CONSULTING, LLC,                             §
                                                             §
        Defendants.                                          §
                                                             §

                               RECEIVER’S INITIAL REPORT

       Receiver Albert C. Black III (“Receiver”) provides this initial report, respectfully stating:

                                              Introduction

       1.      This receivership pertains to Roy W. Hill (“Hill”), his company Clean Energy

Technology Association, Inc. (“CETA”), Eric N. Shelly (“Shelly”), and his company Freedom

Impact Consulting, LLC (“FIC”), as well as various entities under their control.

       2.      This receivership is ancillary to a civil enforcement action brought by the Securities

and Exchange Commission (“SEC”). The main action commenced on May 3, 2023 with the filing

of a Complaint (Doc. 1) and motions seeking an asset freeze and the appointment of a receiver

(Docs. 2 & 4). In support, the SEC presented legal authorities and supporting evidence to

demonstrate to the Court the Defendants were engaged in a fraudulent scheme involving at least

$155 million in invested dollars (Docs. 4.1 – 4.5). Based upon the SEC’s submission, the Court

determined it was proper to issue temporary orders under seal granting the SEC’s requests (Doc.

3, 7, & 8). The Defendants later consented to the issuance of preliminary injunctions that affirmed

the relief originally granted (Doc. 22-24).


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        3.        The Order Appointing Receiver (Doc. 8) appoints Albert C. “Tre” Black III and

directs him to present an initial report as follows:

        Within thirty (30) days of the entry of this Order, the Receiver shall file a written
        status report with the Court. The status report will include a summary of the
        receivership activities to date. It will also include a proposed plan for administering
        the receivership going forward, including (a) whether the receivership should be
        continued (and, if so, why); (b) an analysis of whether instituting appropriate
        bankruptcy proceedings would be in the best interests of investors and creditors;
        and (c) if the Receiver recommends continuing the receivership going forward, a
        proposed deadline by which the Receiver will submit the Liquidation Plan.

(Doc. 8 at 16).

        4.        Due to a large influx of investor inquiries, the Receiver presented a high-level

version of this report early (Doc. 27).

        5.        It has now been thirty days since the start of the receivership, and so the Receiver

now presents a complete initial report.

        6.        The Receiver’s next reporting obligation is the filing of a quarterly report that is

supposed to set forth the next deeper level of detail as to the assets and liabilities of the receivership

estate (Doc. 8 at 16-17). The Receiver is working to extract and to assemble the necessary

information for the report from the documents that have been preserved, the investor reports and

claims that have been submitted, ongoing discussions with the parties, and other sources. The

quarterly report will provide such information as has been assembled at that time. Successive

reports will be made thirty days after the end of each quarter. Each report is likely to contain

similar information at an increasing level of detail.

        7.        The Receiver is mindful that investors wish to know as soon as possible whether a

fraudulent scheme actually occurred and what is the likelihood of recovery. The Receiver has

been inundated with inquiries along such lines.            The Receiver has already circulated his

preliminary report through a website, as is customary in cases of this nature. The Receiver has



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been advising investors to follow the development of information on that site. To help investors

find the site, the Receiver redirected the CETA website (www.cetaenergy.com) to point to a

website where the Receiver posted his preliminary report and the key pleadings

(pnc.5fd.myftpupload.com). The Receiver intends to post on the site key pleadings in the case,

this report, and successive reports. The Receiver is already using the site to collect investor

submissions in the form of early claims. 1

I.       SUMMARY OF RECEIVERSHIP ACTIVITIES TO DATE

         8.       Following is a summary of the receivership activities to date.

         A.       Implementation of the Asset Freeze

         9.       The Court’s determination to issue the temporary orders under seal (Doc. 3)

allowed the SEC and the Receiver to contact financial institutions to implement the asset freeze,

to obtain electronic records from the Defendants, and to secure movable assets. The result was the

securing of bank accounts, easily secreted valuables, and electronic records.

         10.      The Receiver was also able to appear unannounced at CETA offices, and sites

owned by CETA and Shelly, and thereby secure valuable property, mobile devices, computers,

and other records, as well as interview staff and inspect CETA’s actual equipment and operations

as they actually existed at that point in time.

         11.      The Receiver’s logistical support team secured CETA’s heavy equipment and a

number of its vehicles. In seeking to fully implement the asset freeze, the Receiver sought, but




1
  Some investors have asked about a deadline for claims. There is not one. This case is not governed by bankruptcy
rules, such that setting an aggressive bar date for claims is not customary. Rather, the creation of a claim form allows
investors to know what is the most critical information that the Receiver needs at this stage to establish
communications with investors, to map the overall size and to determine the exact nature of the intertwined fraudulent
schemes involved here, and, with that information, to formulate recommendations for the Court. The investor
submissions greatly expedite the work of the receiver, particularly in this case, where a substantial part of the
fundraising was decentralized.


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did not find, signs of equipment having been placed in offsite production. The Receiver has also

inquired of employees and Hill’s counsel in this regard.

        12.    The Receiver also attempted to identify customer relationships relative to purported

sales in material quantities of solvents, processed coal, or rare earth minerals. Neither the

employees nor the Defendants have identified any such customers.

        13.    The Receiver worked to review the recovered records and electronic devices to

determine whether additional steps were needed to implement the asset freeze. The Receiver also

conferred with counsel for the individual Defendants as they appeared in the case.

        14.    As a result of these efforts, the Receiver is relatively confident that the asset freeze

has been substantially implemented as to the assets of CETA, FIC, and Shelly.

        15.    In respect of CETA bank accounts or other assets of Hill or entities controlled by

Hill, there are gaps in the picture immediately available from the assembled records that the

Receiver will need to close. Part of this is due to the decentralized nature of the fundraising, which

necessitates completing a picture, in part, from the bank records. Whatever the case, neither CETA

nor FIC is able to provide a complete picture, such that work remains to be done before the

Receiver can advise the Court with confidence that the asset freeze has been fully implemented.

Additionally, Hill has raised questions about assets of a trust that the Receiver observes received

millions in investor funds. The Receiver will work with Hill’s counsel to see if that matter can be

resolved on the basis of what the completed assembly of records reveals.

        B.     Handling of Investor Inquiries and Collection of Investor Records

        16.    The Receiver has also been handling a very substantial number of investor

inquiries.

        17.    Word of the receivership circulated quickly. The resulting syndicator and investor

inquiries quickly exceeded two hundred and have continued each day.

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        18.    An unusually large number of investors wished to send materials and information

to the Receiver, and sought confirmation of their submissions, both as to their receipt and in respect

of their completeness. The Receiver initially outlined points for informal submissions via email,

but later developed an investor claim form to address the requests for confirmation of the

completeness of the submissions. Many investors also wished to speak with the Receiver or his

counsel, and so hundreds of calls have been handled.

        19.    As noted above, to streamline these communications, the Receiver redirected the

CETA Energy website (www.cetaenergy.com) to a website where the Receiver posted his

preliminary report and the key pleadings (pnc.5fd.myftpupload.com). The Receiver intends to

continue to utilize this arrangement to publish reports and pleadings. The Receiver has posted the

claim form on this site, and so investors may submit claims and documents through a link on the

site.

        20.    In addition to responding to investor inquires, the Receiver has gathered and

compiled investor submissions in order to complete the overall picture of the nature of the

fundraising, the commingling of funds, and the resulting potential estate liabilities. One result of

these communications is that it is now apparent that the fundraising goes beyond just the efforts

of FIC and Shelly, although those efforts produced the largest amount of fundraising thus far. The

investor communications also reveal that there were several variations on the same theme. The

most common was the assertion that an interested syndicator could raise funds from individual

investors for the purpose of purchasing one of the CETA pieces of equipment that would

supposedly go into operation and produce revenue. The assembled funds supposedly matched the

manufacturing cost of the equipment.

        21.    The Receiver has determined that the decentralized nature of this fundraising will

require substantial work on the part of the Receiver, so that the Receiver can comply with his

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reporting obligations and make recommendations to the Court. Submissions from syndicators and

investors are therefore important and useful, and the Receiver will continue to solicit them, as well

as work to match the submissions with bank records, since CETA did not have a comprehensive

set of investor records. The Receiver is grateful for the extensive investor accounting that Shelly

provided. The Receiver hopes that other syndicators will do the same. This would greatly

accelerate the work of the Receiver. Again, to be clear, the Receiver has not sought for any

deadline to be established for investor claims. In receiverships of this type, a receiver generally

seeks to identify all investors and to work to provide restitution as broadly as possible, rather than

to establish an early bar date, as happens in some bankruptcy proceedings. Submission of claims

is therefore something the Receiver will actively encourage, but not something that the Receiver

expects will be required at this early stage. Rather, at this stage, the information obtained through

the claim form process is assisting the Receiver greatly in expediting his work.

       22.     In the course of performing his duties, the Receiver has learned certain facts in

respect of the central questions investors have posed to him. As this report will be posted in an

effort to streamline repetitive communications, the Receiver provides broad answers to frequently

asked questions in this part of the report.

       23.     First, with respect to the often-asked question as to whether the returns were paid

with production or sales revenues, or instead with investor money, the Receiver can say with

confidence that the returns came from later investor money. Investors generally wish to know

whether there was revenue from production because CETA was paying returns as if it had a large

number of carbon capture units in the field as an adjunct to the production operations of major oil

and gas companies, principally Exxon, as well as supposed coal refining operations that

supposedly produced higher quality coal, rare earth minerals, and proprietary solvents. The

Receiver found no indication that there actually was meaningful production or sales revenue;

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rather, the indications are that returns were, in fact, funded by later investor money, and were not

actually evidence of financial success as hundreds of investors had stated that they believed.

Specifically, in seeking to determine whether the asset freeze had been fully implemented, the

Receiver questioned employees, inspected CETA’s industrial sites in Streetman and Fairfield, and,

among other things, obtained documentation from the manufacturer of the central component of

the carbon capture units, whose serial number was generally used on the investor documentation

and supposed bills of sale. The Receiver determined that only about a quarter of the number of

central components were manufactured as compared to representations made to investors.

Additionally, in seeking to determine whether there were ongoing profitable operations that the

Receiver would need to address, the Receiver also reviewed various records to determine the

general magnitude of investor returns, and sought evidence of production revenue. The Receiver

also questioned Hill’s counsel. The Receiver is presently confident that there was neither

equipment in the field that needed to be secured, nor that there are customer relationships that need

to be maintained. Thus, the picture painted by the bank records that the SEC analyzed and

presented to the Court fits with the Receiver’s experience in discharging his duties.

       24.     Second, as to the question of potential recovery, this is a case where a substantial

amount of money has been frozen, but there is also a sizeable loss. The extent of the loss will

require work to ascertain in detail. The Receiver has concluded that tabulation of bank records

and investor submissions will be necessary to provide a complete picture. The early tabulation

indicates the funds raised were substantially greater than the $155 million figure calculated by the

SEC that was largely in relation to Shelly-related fundraising. The Shelly-related projects involved

fundraising of approximately $146 million and returns of approximately $54 million, leaving a net

cash loss of $90 million. An additional $10 million in fundraising has been specifically identified

as to which the loss amount appears to be $5 million. But, there are other substantial fundraising

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efforts that have been identified but not yet tabulated, such that the net cash loss amount is very

likely to grow substantially beyond $95 million. That said, there are frozen funds in excess of $60

million, such that investors in this particular case are likely to receive more restitution than is often

the case in situations like this.

        25.     Relatedly, there will also be tax losses. The investors report and the documents

reflect a large portion of the investments from 2019 forward were premised upon supposed tax

benefits that would have been available if there was actual equipment and actual production. This

further confirms the scheme was premised upon claims of actual equipment being used in the field

to produce revenues through payments from production companies operating wells, solvents being

sold, or coal being refined. The Receiver assessed the potential that investors will face negative

tax impacts, and concluded that the factual basis for the tax deductions was not actually present.

That said, investors will also likely be able to claim theft loss deductions. Investors are therefore

encouraged to confer with their tax advisors to make preparations to address this situation.

        C.      Employee, Supplier, and Insider Claims

        26.     In addition to investor claims, the Receiver was immediately faced with employees,

then suppliers, and ultimately claims from insiders.

        27.     After speaking with employees and examining records, the Receiver concluded

CETA did not have profitable operations that should be continued. Indeed, it was quickly apparent

that the CETA employees worked largely in silos in order to (a) create the necessary CETA

promotional materials, solicitation documents, bills of sale, and other documents that created the

illusion presented to investors; (b) conduct demonstrations of supposed CETA technology and to

undertake development work; (c) execute the flows of funds; and (d) provide administrative

support. Based upon this, the Receiver determined not to continue the CETA operations, and took




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necessary steps to advise the employees and to wind up their employment, including addressing

employee claims in view of the payroll laws and rights to retain 401k accounts.

        28.     The Receiver also interacted with various suppliers, a landlord, and other creditors.

The Receiver intends to accept informal claims, and has already been provided certain claims.

These claims will be evaluated and recommendations will be made to the Court on how to

appropriately handle these claims. Again, the Receiver’s dealings with creditors reinforces the

view that CETA was engaged in research and development, but not engaged in production. One

supplier, for example, reported production of only 47 of the central parts for the carbon capture

units, even though investors were sold more than three times that number. These central parts

have largely been accounted for, and they were not in service.

        29.     Both Hill and Shelly have requested that the Receiver release a portion of the frozen

assets to them. The Receiver will have to provide all parties with certain information in order to

allow the parties to the main action to resolve such requests, or, if those efforts are not successful,

then it may be necessary for the Court to address those requests.

        D.      Compilation of Information for Quarterly Reports

        30.     The Receiver has also been compiling information in anticipation of having to file

his first quarterly report, which is due in late July. The appointment order details the elements to

be included in that report. These include details as to assets and liabilities of the receivership estate

as a whole. The investor and other submissions are helpful to the compilation of this report.

        31.     In respect of the Hill assets and liabilities, Hill has submitted a Fifth Amendment

statement, and indicated he requires access to documents obtained by the Receiver in order to

complete the information required of him in the appointment order. The Receiver will be

cooperating in this request. The Receiver is also hopeful of Hill’s informal cooperation.




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       32.      As for the CETA assts and liabilities, the CETA employees were unable to identify

assets consistent with the representations made to investors. This has caused the Receiver to

examine the records that have been accumulated, including bank records, in an effort to determine

whether additional assets exist. Additionally, CETA does not appear to have maintained typical

financial statements, which means the Receiver will have to create them in order to present the

information required for quarterly reports. The Receiver has contacted certain accountants who

provided tax preparation services to CETA, and the Receiver will be attempting to utilize the

materials to the extent they are helpful.

       33.      Although Shelly has also asserted his Fifth Amendment rights, Shelly provided a

general overview of his assets and the Receiver expects to be able to cooperate with Shelly in

compiling the appropriate information for the quarterly reports.

       34.      Shelly also provided an accounting of the FIC fundraising and the FIC sponsored

syndications.

       35.      In the absence of complete and organized financial records, the Receiver’s

approach will be to test the records that have been found against bank records in order to follow

the investor deposits to their ultimate end, and to determine the scope of the necessary work based

upon the picture outlined by the bank records. With that picture in hand, the Receiver will be able

to better define the scope of the receivership estate, and to provide the information required for the

quarterly reports.

       E.       Preparation of Court Reports

       36.      The Receiver prepared and submitted a preliminary report and this initial report.

As noted, the preliminary report was a part of the Receiver’s responses to investor inquiries.




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        F.      Cooperation with Parties to the Main Action

        37.     The Receiver has been compiling, and intends to make available, the recovered

records to both the Plaintiff and the Defendant. The Receiver has a number of requests from each

of the parties that the Receiver is attempting to fulfill.

        G.      Collection of Records from Third Parties

        38.     The Receiver was unable to identify a complete set of bank records in respect of

the investor deposits, returns, and uses of investor funds. The banks have been slow to cooperate

in the Receiver’s requests, and so it may take some time to put together a full set of records.

        H.      Evaluation of Potential Claims

        39.     The directives for the quarterly reports include the evaluation of potential claims.

Under circumstances such as those the Receiver has encountered here, the most common claims

are fraudulent transfer claims.      To evaluate the potential for such claims, the Receiver is

assembling and reviewing any accounting records and the bank records in order to identify what

transfers have been made, and will then work to examine the transfers in light of the available

records and witnesses, so as to determine whether affirmative claims to recover any diverted funds

are advisable. Once this initial work is complete, the Receiver will follow the procedures as

directed in the appointment order.

II.     PLAN FOR ADMINISTRATION OF THE ESTATE

        40.     The Receiver believes that the immediate next steps should be those already

directed in the Order Appointing Receiver. Alongside the work needed to address investor

inquiries, preserve the status quo, and create a first quarterly report, the Receiver can address, as

needed, certain presently open questions as to whether the asset freeze has been fully implemented,

and thereafter provide recommendations that are based upon the facts as will hopefully be set forth

in a detailed report in the next sixty days. It is already clear that this is a case where a significant

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fraud has occurred, and it is likely that the receivership will lead to an equitable distribution and

perhaps efforts to obtain further recoveries, but the available information is not yet sufficiently

detailed for the Receiver to provide firm recommendations as to how the receivership should

proceed and be resolved.

       A.      Whether the Receivership Should Be Continued

       41.     First, the Receiver recommends that the receivership be continued because the SEC

is entitled to such relief. The appointment of a receiver is a well-established equitable remedy in

civil enforcement proceedings for injunctive relief. See, e.g., SEC v. First Fin. Group of Texas,

645 F.2d 429, 438 (5th Cir. 1981). Here, the Defendants have agreed to the entry of preliminary

injunctions, which confirms the entry of the Order Appointing Receiver. Additionally, the

individual defendants have asserted their Fifth Amendment rights, which further validates the

Court’s entry of temporary orders.      U.S. v. Ferrand, Case No. 05-00692006, fn. 4, 2006 WL

598212 (W.D. La. Feb. 7, 2006, Hayes, M.J.) (noting Fifth Amendment assertion gives rise to an

adverse presumption in a civil case), adopted and further relief granted, 97 A.F.T.R.2d 2006-2183

(W.D. La. Apr. 11, 2006, James, J.). Furthermore, the facts gathered in the course of the Receiver’s

work run in line with the evidence as presented to the Court.

       42.     Second, the Receiver recommends the receivership be continued because it is

serving appropriate purposes. Courts will appoint a receiver (1) where necessary to preserve the

status quo while various transactions are being unraveled in order to determine an accurate picture

of the fraudulent conduct, SEC v. Manor Nursing Ctrs., Inc., 458 F.2d 1082, 1105 (2d Cir. 1972);

(2) to protect “those who have already been injured by a violator’s actions from further

despoliation of their property or rights,” Esbitt v. Dutch-American Mercantile Corp., 335 F.2d 131,

143 (2d Cir. 1964); (3) to prevent the dissipation of the defendant’s assets pending further action

by the court, SEC v. Am. Bd. of Trade, Inc., 830 F.2d 431, 436 (2d Cir. 1987); and (4) to install a

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responsible officer of the court who could bring the companies into compliance with the law. Id.

at 437. Each of these purposes is being served. First, hundreds of investors have requested an

accurate picture be provided, and the Receiver has been working to provide that picture through

the court-required reports described in the appointment order, and through other communications

with investors. Second, there can be no doubt that investors were told they were receiving

payments derived from profitable operations when, in fact, the payments were made from their

own funds or later investor funds, and CETA did not require the funds to purchase the equipment

as investors were told, but instead the funds were being used for other purposes. Third, the

implementation of the asset freeze should not be reversed given the circumstances present here;

rather, for obvious reasons given the fraudulent conduct, the use of funds should be subject to a

receiver’s administration under the ultimate supervision of the Court. Fourth, the Defendants have

not been operating in compliance with applicable law, and so it is necessary to have a responsible

officer of the court bring the companies into compliance with the law.

       43.     Based upon the foregoing, the Receiver’s present recommendation is to keep in

place the existing directives in the Order Appointing Receiver (Doc. 8). As noted above, the

parties have agreed to this, and performance of the duties set forth in the order will provide the

transparency to the investors that has been lacking during the course of years of fraudulent conduct,

will halt the violators’ actions, will keep the receivership estate under Court administration, and

keep in place a fiduciary who will follow applicable law.

       44.     In regard to providing transparency, the compilation of the first quarterly report will

require some substantial forensic work because, as noted above, CETA itself did not maintain clear

records of the scope of the fundraising and there were intertwined offerings organized by various

third-party syndicators that raised money for supposed CETA equipment and other projects.




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       45.     The Receiver therefore intends to put together sufficient information to make as

complete of a first quarterly report as practical, and to include in that report further

recommendations for the Court as to appropriate next steps at that time.

       46.     The Receiver will also take into account the further progress of the main action,

some of which may be resolved and some of which may be expanded, and the Receiver will tailor

his actions accordingly.

       B.      Bankruptcy Proceedings Should Not Be Instituted

       47.     In the Fifth Circuit, it is appropriate to resolve a receivership arising from a

securities fraud by means of a pro-rata equitable distribution, and a district court has broad

equitable authority to do so. SEC v. Forex Asset Mgmt. LLC, 242 F.3d 325, 332 (5th Cir. 2001).

       48.     There is, however, some authority for the proposition that a district court should

evaluate whether the case is simply an ordinary insolvency proceeding that should be administered

by the bankruptcy courts. See SEC v. Byers, 637 F.Supp.2d 166, 175-76 (S.D.N.Y. 2009). The

district court in the Byers case observed that a federal district court has broad equitable authority

and discretion as to the ultimate course of a receivership, such many receiverships run their course

and end in an equitable distribution plan. Id. Receivership is generally considered more equitable

means of resolving a fraudulent scheme; as the district court in Byers determined: “This is an SEC

fraud case involving a massive Ponzi scheme. The reason the Wextrust entities are in shambles is

not—as is typical in a bankruptcy case—because of poor economic conditions or garden variety

mismanagement. The reason is fraud.” Id. at 176. In assessing whether a case should ultimately

be resolved through bankruptcy liquidation or an equitable distribution plan, the district court

should take into account the views of the SEC and the receiver. Id.

       49.     This case is plainly not an ordinary insolvency. CETA and FIC did not simply

become insolvent; rather, they were instrumentalities of a fraudulent scheme, as the SEC

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demonstrated in its moving papers, and as has been confirmed by the evidence and facts discovered

since. As such, providing the Defendants protection from their creditors is not appropriate. This

is a civil enforcement action, in which the overwhelming majority of any distributions will be in

the nature of restitution. Even recoveries by the SEC, through disgorgement or civil penalties, are

generally turned over for equitable compensation to defrauded parties through the Fair Funds Act.

See 17 CFR §§ 201.1101, et seq. Additionally, the above four purposes have not been completed,

such that even if a bankruptcy liquidation might become advisable in the future, it is not advisable

now. Thus, the SEC and the Receiver favor continuing to administer the frozen assets by means

of an equitable receivership under the supervision of this Court.

       C.      Deadline for Liquidation Plan Proposal

       50.     The Receiver will need time to appropriately determine the scope of the scheme

and related intertwined schemes, and to propose an appropriate plan to the Court. The work will

require, in part, reliance upon bank records that will take time to assemble. As a result, the

Receiver does not expect to be in a position to give a full and complete quarterly report on his first

attempt. Additionally, the Receiver expects to tailor his work in line with the resolution of the

main case, which is in its initial stages. The Receiver therefore recommends that the Court

determine that the Receiver’s second quarterly report in this case should include a proposal for a

distribution plan.




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                                                     Respectfully submitted,


                                                     /s/ Dennis Roossien
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of June, 2023, a true and correct copy of the foregoing
instrument was served electronically in compliance with the Court’s Electronic Filing Procedures
on all counsel of record who are deemed to have consented to electronic service.

                                                          /s/ Dennis Roossien




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